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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 In the Matter of L.C.

 SEBASTIAN CORREA MORALES,

                             Petitioner,              AMENDED
                                                      SCHEDULING ORDER
               – against –                            24-cv-07951 (NCM) (TAM)

 JULIANA ESCOBAR RESTREPO,

                             Respondent.


 NATASHA C. MERLE, United States District Judge:

       Before the Court is petitioner’s Verified Petition for the Return of Child to

 Colombia (the “Petition”) against respondent pursuant to The Hague Convention on

 the Civil Aspects of International Child Abduction and the International Child

 Abduction Remedies Act (“ICARA”). ECF No. 1. At the parties’ request, the Court

 granted the parties’ stipulated proposed joint pretrial schedule, ECF No. 13, with

 certain modifications. ECF Order dated Dec. 23, 2024. At the parties’ further joint

 request, ECF No. 15, the Court modified the pretrial schedule, including by

 rescheduling the evidentiary hearing. ECF Order dated Jan. 2, 2025. The parties now

 jointly request additional modifications to the schedule, including the hearing date.

 ECF Nos. 17, 18, 21. The Court GRANTS the parties’ stipulated amended schedule,

 ECF No. 21-1, as modified below:

       The evidentiary hearing currently scheduled for February 5 and 6, 2025, is

 postponed and shall be rescheduled by further court order to a date to be determined

 on consent of the parties and convenient to the Court during February 2025.



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          The parties shall file responses to the motions in limine, ECF Nos. 19, 20, no

 later than January 13, 2025.

          The parties shall exchange Proposed Exhibits, Exhibit Lists and Witness Lists no

 later than January 20, 2025.

          The parties shall each file Proposed Exhibit Lists and Witness Lists no later than

 January 23, 2025.

          The parties shall each file Proposed Findings of Fact and Conclusions of Law, as

 well as Pretrial Briefs not to exceed five (5) pages, addressing the legal issues before the

 Court and outlining their anticipated witness testimony and evidence, by January 31,

 2025.

          The parties shall each submit PDF files of each Proposed Exhibit by email to

 Chambers by January 31, 2025, in accordance with the Court’s Individual Practice Rule

 IV.B.3.

          The parties shall each submit by hand to the Court hard copies of their Proposed

 Exhibits on the Friday before trial, in accordance with the Court’s Individual Practice

 Rule IV.B.3.



          SO ORDERED.



                                                    /s/ Natasha C. Merle
                                                   NATASHA C. MERLE
                                                   United States District Judge



 Dated:         January 10, 2025
                Brooklyn, New York



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